   Case 0:17-cv-60426-UU Document 251-1 Entered on FLSD Docket 10/16/2018 Page 1 of 43




                                   IN THE UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                           Case No.: 17-cv-60426-UU

                                                                                                       Exhibit B

       ALEKSEJ GUBAREV, XBT HOLDING S.A.,
       AND WEBZILLA, INC.

             Plaintiffs,

       vs.

       BUZZFEED, INC. AND BEN SMITH,

         Defendants.
       ____________________________________/



                                       DEFENDANTS’ TRIAL EXHIBIT LIST

Presiding Judge                              Plaintiffs’ Attorneys                     Defendants’ Attorneys
Judge Ursula Ungaro                          Evan Fray-Witzer                          Katherine M. Bolger
                                             Valentin Gurvits                          Adam Lazier
                                             Matthew Shayefar                          Nathan Siegel
                                             Brady J. Cobb                             Alison Schary
                                             Dylan Fulop                               Roy E. Black
                                                                                       Jared M. Lopez
Trial Date(s)
January 22, 2019 -
February 4, 2019

                                            Defendants’ Expected Exhibits

Plf.   Def. No.      Date    Objections1   Marked   Admitted   Description of Exhibits and Witnesses
No.                  Offer
                     ed




       1
        A – Authenticity (unexclusively including best evidence rule), Arg – Argumentative, Best Ev –
       Best evidence, C – Completeness, Daubert – Subject to Daubert challenge, Doc Speaks –
       Documents speaks for itself, F – Foundation, H – Hearsay, I – Inadmissible matter
       (unexclusively including Daubert challenge), L – foreign language, Leg. – Calls for legal
       conclusion, N – No objection, M – Misstates testimony, P – Privileged, R – Relevance, S –
   Case 0:17-cv-60426-UU Document 251-1 Entered on FLSD Docket 10/16/2018 Page 2 of 43



Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                                Depo Exhibits of Kostyantyn Bezruchenko 05/3/18
       DEX0001            N                                     Bezruchenko Depo Ex. 1 – LinkedIn Profile of K. Bezruchenko
                                                                (No Bates Number)
       DEX0002            N                                     Bezruchenko Depo Ex. 2 – Printout of home page of XBT Website
       DEX0003            N                                     Bezruchenko Depo Ex. 3 – Printout of XBT Website, page entitled
                                                                “Overview”
       DEX0004            N                                     Bezruchenko Depo Ex. 4 – Printout of XBT Website, listing
                                                                subsidiaries
       DEX0005            N                                     Bezruchenko Depo Ex. 5 – Website printout reflecting
                                                                Services/Features of Company
       DEX0006            N                                     Bezruchenko Depo Ex. 6 – Printout entitled Dedicated Servers
       DEX0007            N                                     Bezruchenko Depo Ex. 10 – Document, Fozzy Fast Linux VPS
       DEX0008            N                                     Bezruchenko Depo Ex. 11 – Document with heading Root S.A.
                                                                Hosting, Dedicated Servers and Domain Names
       DEX0009            N                                     Bezruchenko Depo Ex. 12 – Document, Network Features and
                                                                Benefits/Webzilla
       DEX0010                                                  Bezruchenko Depo Ex. 13 –Document Entitled “Ticket Metadata”
                                                                (P-T001704 to P-T001706)
                          R, UP, H
       DEX0011                                                  Bezruchenko Depo Ex. 14 –Subject: Remove and Securely store
                                                                drives, from Ctaylor dated 12/21/2016
                          R, UP, F
       DEX0012            R, UP, H                              Bezruchenko Depo Ex. 15 –ticket created by Boaz Ruimy Leadads,
                                                                dated June 6, 2014, re: IP Use for hacking
                                                                (P-T001714 to P-T001717)
       DEX0013            R, UP, H, F                           Bezruchenko Depo Ex. 16 – Grizzly Steppe report on Russian
                                                                Malicious Cyber Activity
                                                                (No Bates number)
       DEX0014            R, UP, H, F                           Bezruchenko Depo Ex. 17 – Subject: IP details from Marc
                                                                Goederich dated 9-5-17 to Konstantin Bezruchenko
                                                                (P-T000008 to P-T000009)
       DEX0015            R, UP, H, F                           Bezruchenko Depo Ex. 18 – Subject: IP details from Marc
                                                                Goederich dated 9-6-17 to Aleksej Gubarev
                                                                (P-T000012 to P-T000015)
       DEX0016            R, UP, H, F                           Bezruchenko Depo Ex. 19 – Document with heading “Internal
                                                                Investigation Report on ‘Grizzly Steppe’” document released on
                                                                12-29-16, by Department of Homeland Security



       Speculation, T – To form (unexclusively including, for instance, speculation, argumentative,
       misstates testimony, calls for legal conclusion), and UP – Unfairly Prejudicial.


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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0017            R, UP, F                              Bezruchenko Depo Ex. 20 – Server Log, Traffic In, Traffic Out
       DEX0018            N                                     Bezruchenko Depo Ex. 21 – Internal Investigation Report on
                                                                BuzzFeed publication from BK to XBT stakeholders
       DEX0019            R                                     Bezruchenko Depo Ex. 22 – Memo from Konstantin Bezruchenko
                                                                dated 9-22-16, to Jahamaliah, Modupeh re: Questionnaire for C-
                                                                suite Execs
       DEX0020            R                                     Bezruchenko Depo Ex. 23 – Memo from Alexey Gubarev dated 7-
                                                                26-16, to Konstantin Bezruchenko re: Additional Questions for
                                                                Servers


                                                                Depo Exhibits of Christopher Steele 06/18/18
       DEX0021            N                                     Steele Depo Ex. 4 – Company Intelligence Report 2016/166


                                                                Depo Exhibits of Marc Goederich 05/18/18
       DEX0022            N                                     Goederich Depo Ex. 1 – Website Printout from www.root.lu
                                                                Homepage, Print Date 5-9-18
                                                                (No Bates number)
       DEX0023            N                                     Goederich Depo Ex. 2 – Website Printout from www.root.lu
                                                                Entitled “Managed Services,” Print Date 5-9-18
                                                                (No Bates number)
       DEX0024            N                                     Goederich Depo Ex. 3 – Website Printout from www.root.lu
                                                                Entitled “IP Transit,” Print Date 5-9-18 (No Bates number)
       DEX0025            N                                     Goederich Depo Ex. 4 – Website Printout from www.site.lu
                                                                Entitled “Standard Hosting,” Print Date 5-9-18
                                                                (No Bates number)
       DEX0026            N                                     Goederich Depo Ex. 5 – Website Printout from www.site.lu
                                                                Entitled “Dedicated Hosting,” Print Date 5-9-18
                                                                (No Bates number)
       DEX0027            N                                     Goederich Depo Ex. 6 – Document Entitled “Applicable to Every
                                                                Service, Product or Software Provided by Root S.A.,” Dated 4-11-
                                                                12
                                                                (No Bates number)
       DEX0028            N                                     Goederich Depo Ex. 7 – Document Entitled “Dedicated Server
                                                                Services Specific Terms and Conditions,” Dated 4-11-12
                                                                (No Bates number)
       DEX0029            N                                     Goederich Depo Ex. 8 – Document Entitled “Virtual Private Server
                                                                Services Specific Terms and Conditions,” Dated 4-11-12
                                                                (No Bates number)
       DEX0030            N                                     Goederich Depo Ex. 9 – Website Printout from www.root.lu
                                                                Entitled “Abuse,” Print Date 5-9-18



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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                                (No Bates Number)
       DEX0031            R, UP, H                              Goederich Depo Ex. 10 – E-mail from Anti-Fraud Command-
                                                                Center to abuse@as5577.net and Ot hers Dated 1-2-16, Subject:
                                                                “We have Detected that Root SA is Hosting a Fraudulent Website
                                                                that Offers a Brand Abuse against La Caixa” and Related E-mail
                                                                Chain
                                                                (P-R041248)
       DEX0032            R, UP, H                              Goederich Depo Ex. 11 – E-mail from Marc Goederich to
                                                                abuse@as5577.net Dated 2-15-16, Subject: “FW: We have
                                                                Detected that ryogaclass.biz with IP 94.242.203.99 is Hosting a
                                                                Server Side of a Trojan Mechanism against Multiple Banks” and
                                                                Related E-mail Chain
                                                                (P-R041554 to P-R041558)
       DEX0033            R, UP, H                              Goederich Depo Ex. 12 – E-mail from Marc Goederich to
                                                                abuse@key-systems.net Dated 2-29-16, Subject; “Re:
                                                                [KS#2016022810002617[ [419] Scam – Visa Card Fraud (Card
                                                                #4225-8422-0661-2760); Good Day” and Related E-Mail Chain
                                                                (P-R041602 to P-R041603)
       DEX0034            R, UP, H                              Goederich Depo Ex. 13 – E-Mail from Marc Goederich to
                                                                abuse@as5577.net Dated 3-20-16, Subject: “FW: Abuse/Malicious
                                                                Requests” and Related E-mail Chain (P-T000250 to P-T000257)
       DEX0035            R, UP, H                              Goederich Depo Ex. 14 – E-mail from Marc Goederich to
                                                                abuse@as5577.net Dated 3-20-16, Subject: “FW: Abuse/Malicious
                                                                Requests” and Related E-mail Chain (P-T000250 to P-T000257)
       DEX0036            R, UP, H                              Goederich Depo Ex. 15 – E-mail from Marc Goederich to
                                                                abuse@as5577.net Dated 7-27-16, Subject: “FW: Fraudulent Site
                                                                on Your Network [MM #233304] (94.242.195.220)” and Related
                                                                E-mail Chain
                                                                (P-R043395 to P-R043398)
       DEX0037            R, UP, H                              Goederich Depo Ex. 16 – E-mail from Csirt Bradesco to
                                                                abuse@as5577.net and “info.circl.lu” Dated 9-14-16, Subject:
                                                                “Abuse – False Pages of Our Bank Hosted at Your Website/Server
                                                                [http:/www.losfigaros/lu/central-do-clients-online/]” and Related
                                                                E-mail Chain
                                                                (P-R043640 to P-R043641)
       DEX0038            R, UP, H                              Goederich Depo Ex. 17 – E-mail from Tom Armstrong to
                                                                spam@uce.gov Dated 10-19-16, Subject: “Spam: E-mail
                                                                Information” and Related E-mail Chain
                                                                (P-R0437346 to P-R043749)
       DEX0039            R, UP, F, H                           Goederich Depo Ex. 18A – Luxembourgish E-mail from Guy
                                                                Voncken to Marc Goederich Dated 12-30-16, Subject: “Re: “nofro
                                                                IP-Adress” [sic] and Related E-mail Chain
                                                                (P-T000005 to P-T000006)
       DEX0040            R, UP, F, H                           Goederich Depo Ex. 18B – English Translation of Exhibit 18A (P-
                                                                T000005 to P-T000006)



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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0041            R, UP, F, H                           Goederich Depo Ex. 19A – Luxembourgish E-mail from Marc
                                                                Goederich to Fred Arbogast Dated 1-3-17, Subject: “RE: Info” and
                                                                Related E-mail Chain (P-T000020)
       DEX0042            R, UP, F, H                           Goederich Depo Ex. 19B – English Translation of Exhibit 19A (P-
                                                                T000020)
       DEX0043            R, UP, F, H                           Goederich Depo Ex. 20 – E-mail from Konstantin Bezruchenko to
                                                                Marc Goederich and Alexley [sic] Gubarev Dated 5-9-17, Subject:
                                                                “IP Details”
                                                                (P-T000007)
       DEX0044            R, UP, F, H                           Goederich Depo Ex. 21 – Spreadsheet
                                                                (P-T000004)
       DEX0045            R, UP, F, H                           Goederich Depo Ex. 22A – Luxembourgish Document
                                                                (P-R049062 to P-R049063)
       DEX0046            R, UP, F, H                           Goederich Depo Ex. 22B – English Translation of Exhibit 22A
                                                                Document Entitled “Warrant” Dated 2-19-16
                                                                (P-R049062 to P-R049063)


                                                                Depo Exhibits of Rajesh Mishra 05/01/18
       DEX0047            F                                     Mishra Depo Ex. 1 – Mishra’s resume
       DEX0048            F                                     Mishra Depo Ex. 2 – Document printed from Webzilla.com
       DEX0049            N                                     Mishra Depo Ex. 4 – Consolidated financial statement for XBT
                                                                Limited SA 2016
       DEX0050            N                                     Mishra Depo Ex. 8 – Webzilla, Inc. financial statement for 2011
       DEX0051            N                                     Mishra Depo Ex. 9 – 2012 Webzilla financial statement
       DEX0052            N                                     Mishra Depo Ex. 10 – 2012 corporate tax returns for Webzilla, Inc.
       DEX0053            N                                     Mishra Depo Ex. 11 – Consolidated financial statement for 2012
       DEX0054            N                                     Mishra Depo Ex. 12 – Evaluation report by KPMG
       DEX0055            N                                     Mishra Depo Ex. 13 – Consolidated financial statements for EBT
                                                                Holding Limited for 2013
       DEX0056            N                                     Mishra Depo Ex. 14 – Report and Financial Statements
       DEX0057            N                                     Mishra Depo Ex. 18 – XBT Holding financial statements for year
                                                                end 2014
       DEX0058            N                                     Mishra Depo Ex. 19 – Webzilla, Inc. financial statements for year
                                                                end 2014
       DEX0059            N                                     Mishra Depo Ex. 20 – Webzilla 2016 Consolidated Statement
       DEX0060            N                                     Mishra Depo Ex. 21 – Webzilla 2014 tax return
       DEX0061            N                                     Mishra Depo Ex. 24 – 2015 Florida tax return



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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0062            N                                     Mishra Depo Ex. 25 – XBT Holding SA consolidated 2015
                                                                statement
       DEX0063            N                                     Mishra Depo Ex. 26 – 2016 Webzilla tax return
       DEX0064            N                                     Mishra Depo Ex. 31 – Business plan
       DEX0065            N                                     Mishra Depo Ex. 32 – Monthly revenue
       DEX0066            N                                     Mishra Depo Ex. 33 – Business plan




                                                                Depo Exhibits of Nicolay Dvas 05/17/18
       DEX0068            N                                     Dvas Depo Ex. 1 – LinkedIn Profile of Nick Dvas
                                                                (No Bates Number)
       DEX0069            R                                     Dvas Depo Ex. 23 – Website Article from
                                                                www.missioncriticalmagazine.com Entitlted “Bare Metal Servers:
                                                                The Next Big Thing in Cloud Hosting,” Dated 2-25-16
                                                                (No Bates Number)
       DEX0070            R                                     Dvas Depo Ex. 28 – Website Article from www.inc.com Entitled
                                                                “18 Tech Companies to Get Excited About,” Print Date 5-13-18
                                                                (No Bates Number)
       DEX0071            R                                     Dvas Depo Ex. 29 – Russian Website Article
                                                                (P-F000119 to P-F000121)
       DEX0072            R                                     Dvas Depo Ex. 30 – Russian Document
                                                                (P-F000028 to P-F000045)
       DEX0073            R                                     Dvas Depo Ex. 32 – E-mail from Olga Galkina to Charles Dolan,
                                                                Dated 4-11-16, Subject: “Re: Checking In” and Related E-mail
                                                                Chain
                                                                (P-P001256 to P-P001257)
       DEX0074            R, UP                                 Dvas Depo Ex. 33 – Russian Website Article from
                                                                “2016.russianinternetforum.ru”
                                                                (No Bates Number)
       DEX0075            R, H, UP                              Dvas Depo Ex. 34 – E-mail from Olga Galkina to Charles Dolan,
                                                                Dated 6-12-16, Subject:”Forum”
                                                                (P-P001294)
       DEX0076            R, H, UP, F                           Dvas Depo Ex. 61 – Email from Alexey Gubarev to Charles Dolan
                                                                and Nick Dvas, Dated 12-21-16, Subject: “Re: Reputation
                                                                Management Services” and Related E-mail Chain
                                                                (P-P001526 to P-P001528)
       DEX0077            R, H, UP, F                           Dvas Depo Ex. 62 – Document Entitled “White Ops, The Methbot
                                                                Operation,” Dated 12-20-16
                                                                (No Bates Number)




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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0078            R, H, UP, F                           Dvas Depo Ex. 63 – E-mail from Alexey Gubarev to Charles
                                                                Dolan and Nick Dvas, Dated 12-21-16, Subject: “Re: Reputation
                                                                Management Services” and Related E-mail Chain
                                                                (KGlobal 000580 to 000582)
       DEX0079            R, H, UP, F                           Dvas Depo Ex. 64 – E-mail from Alexey Gubarev to Charles
                                                                Dolan and Nick Dvas, Dated 12-22-16, Subject: “Re: Questions for
                                                                10:00 AM Call” and Related E-mail Chain
                                                                (P-P001536 to P-P001539)
       DEX0080            R, H, UP, F                           Dvas Depo Ex. 65 – E-mail from Nick Dvas to Charles Dolan and
                                                                Alexey Gubarev, Dated 12-22-16, Subject: “Re: Additional
                                                                Question” and Related E-mail Chain
                                                                (P-P001532 to P-P001533)
       DEX0081            R, H, UP, F                           Dvas Depo Ex. 66 – E-mail from Nick Dvas to Charles Dolan and
                                                                Alexey Gubarev, Dated 12-23-16, Subject: “Re: Draft –
                                                                Servers.com Statement and Q&A” and Related E-mail Chain
                                                                (P-P001540 to P-P 001541)
       DEX0082            R, H, UP, F                           Dvas Depo Ex. 70 – E-mail from Charles Dolan to Nick Dvas and
                                                                Alexey Gubarev, Dated 12-23-16, Subject: “Servers.com Daily
                                                                Monitoring (12/23/16) and CHD Talking Points for Approval” and
                                                                Related Attachment
                                                                (Kglobal 000824 to 000825)
       DEX0083            R, H, UP, F                           Dvas Depo Ex. 71 – E-mail from Nick Dvas to Charles Dolan and
                                                                Alexey Gubarev, Dated 12-24-16, Subject: “Re: Servers.com Daily
                                                                Monitoring (12/23/16) and Related E-mail Chain
                                                                (Kglobal 000596)
       DEX0084            R, H, UP, F                           Dvas Depo Ex. 72 – E-mail from Alexey Gubarev to Charles
                                                                Dolan and Nick Dvas, Dated 12-22-16, Subject: “Re: Additional
                                                                Question” and Related E-mail Chain
                                                                (Kglobal 000248 to 000249)
       DEX0085            R, H, UP, F                           Dvas Depo Ex. 76 – Document Re: “ibetters2@gmail - Alexander
                                                                Zhukov”
                                                                (P-T001765)
       DEX0086            R, H, UP, F                           Dvas Depo Ex. 78 – Chat History Between Chuck Dolan and Nick
                                                                Dvas, Various Dates, and Related E-mails
                                                                (Kglobal 003870 to 003897)
       DEX0087            R, UP                                 Dvas Depo Ex. 82 – E-mail from Charles Dolan to Alexey
                                                                Gubarev and Nick Dvas, Dated 1-11-17, Subject: “Initial
                                                                Response”
                                                                (P-H000042)
       DEX0088            N                                     Dvas Depo Ex. 84 – E-mail from Nick Dvas to Charles Dolan,
                                                                Dated 1-12-17, Subject: “Fwd: From RT Channel: Interview
                                                                Request” and Related E-mail Chain
                                                                (Kglobal 000025)
       DEX0089            N                                     Dvas Depo Ex. 90 – Spreadsheets




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Plf.   Def. No.   Date    Objections1   Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                                (No Bates Number)


                                                                Depo Exhibits of Jeffrey Anderson 05/31/18
       DEX0090            R, UP                                 Anderson Depo Ex. 1 – One page chart
                                                                (No Bates Number)
       DEX0091            I, F, R                               Anderson Depo Ex. 6 – Charts
                                                                (No Bates Number)


                                                                Depo Exhibits of 30(b)(6) Deponent Peter R. Fritsch for Fusion
                                                                GPS 08/30/18
       DEX0092            R, UP                                 Fritsch Depo Ex. 5 – Order on recast motion to quash of non-party
                                                                Fusion GPS
                                                                (No Bates Number)
       DEX0093            N                                     Fritsch Depo Ex. 6 – Transcript of Glenn Simspon’s Senate
                                                                Judiciary Committee testimony
                                                                (No Bates Number)
       DEX0094            F, H                                  Fritsch Depo Ex. 7 – FBI SourceOrder on recast motion to quash
                                                                of non-party Fusion GPS
                                                                (No Bates Number)
       DEX0095            N                                     Fritsch Depo Ex. 8 – Company Intelligence Report 2016/080
                                                                (BuzzFeed 007077)
       DEX0096            N                                     Fritsch Depo Ex. 9 – Transcript of Deposition of David Kramer
                                                                (No Bates Number)


                                                                Depo Exhibits of Ken Bensinger 02/17/18
       DEX0097            R, A, H                               02_BuzzFeed_000005
                                                                (No Bates Number)
       DEX0098            R, A, H,                              03_BuzzFeed_000006
                                                                (No Bates Number)
       DEX0099            A                                     04_BuzzFeed_000007
                                                                (No Bates Number)
       DEX0100            A                                     05_BuzzFeed_000008
                                                                (No Bates Number)
       DEX0101            A                                     06_BuzzFeed_000009
                                                                (No Bates Number)
       DEX0102            A                                     07_BuzzFeed_000010
                                                                (No Bates Number)
       DEX0103            R, A                                  08_BuzzFeed_000011



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Plf.   Def. No.   Date    Objections1    Marked   Admitted       Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                                 (No Bates Number)
       DEX0104            R, A                                   09_BuzzFeed_010235
                                                                 (BuzzFeed_010235)
       DEX0105            R, A, H                                10_BuzzFeed_000031
                                                                 (BuzzFeed_000031 -000032)
       DEX0106            R, H, F                                Bears in the Midst
                                                                 (No Bates Number)
       DEX0107            H, F                                   Corn article
                                                                 (No Bates Number)
       DEX0108            R, H, UP, F                            Grizzly Steppe
                                                                 (No Bates Number)
       DEX0109            R, H, UP, F                            Joint Statement
                                                                 (No Bates Number)
       DEX0110            H, F                                   Post article
                                                                 (No Bates Number)


                                                                 Depo Exhibits of Eric Cole 08/29/18
       DEX0111            N                                      Cole Depo Ex. 1 – Expert Report of Dr. Eric Cole
                                                                 (No Bates Number)
       DEX0112            R, H                                   Cole Depo Ex. 3 – Transcript on Hearing on Motion to Strike
                                                                 (No Bates Number)


                                                                 Depo Exhibits of Anthony Ferrante (07/27/18)
       DEX0113            R, UP, H,                              Ferrante Depo Ex. 3 – Ferrante Expert Report
                          Daubert
       DEX0114            R, UP, H,                              Ferrante Expert Report Exhibit 1 – Ferrante CV
                          Daubert
       DEX0115            R, UP, H,                              Ferrante Expert Report Exhibit 2 – ASN Overview
                          Daubert
       DEX0116            R, UP, H,                              Ferrante Expert Report Exhibit 3 – CrowdStrike Report
                          Daubert
       DEX0117            R, UP, H,                              Ferrante Expert Report Exhibit 4 – Bitley Presentation
                          Daubert
       DEX0118            R, UP, H, I,                           Ferrante Expert Report Exhibit 5 – Bitley Data
                          Daubert
       DEX0119            R, UP, H, I,                           Ferrante Expert Report Exhibit 6 – SSL
                          Daubert




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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0120            R, UP, H, I,                        Ferrante Expert Report Exhibit 7 – Grizzly Steppe Report
                          Daubert
       DEX0121            R, UP, H, I,                        Ferrante Expert Report Exhibit 8 – Grizzly Steppe IPs
                          Daubert
       DEX0122            R, UP, H, I,                        Ferrante Expert Report Exhibit 9 – Methbot Report
                          Daubert
       DEX0123            R, UP, H, I,                        Ferrante Expert Report Exhibit 10 – Methbot IOCs
                          Daubert
       DEX0124            R, UP, H, I,                        Ferrante Expert Report Exhibit 11 – Crash Override
                          Daubert
       DEX0125            R, UP, H, I,                        Ferrante Expert Report Exhibit 12 – Win32_Industroyer
                          Daubert
       DEX0126            R, UP, H, I,                        Ferrante Expert Report Exhibit 13 – CosmicDuke
                          Daubert
       DEX0127            R, UP, H, I,                        Ferrante Expert Report Exhibit 14 – APT Careto
                          Daubert
       DEX0128            R, UP, H, I,                        Ferrante Expert Report Exhibit 15 – Potao Express
                          Daubert
       DEX0129            R, UP, H, I,                        Ferrante Expert Report Exhibit 16 – Sedreco
                          Daubert
       DEX0130            R, UP, H, I,                        Ferrante Expert Report Exhibit 17 – Sednit
                          Daubert
       DEX0131            R, UP, H, I,                        Ferrante Expert Report Exhibit 18 – Gozi
                          Daubert
       DEX0132            R, UP, H, I,                        Ferrante Expert Report Exhibit 19 – RIG Exploit Kit
                          Daubert
       DEX0133            R, UP, H, I,                        Ferrante Expert Report Exhibit 20 – Damballa_PonyUp
                          Daubert
       DEX0134            R, UP, H, I,                        Ferrante Expert Report Exhibit 21 – Dark Hotel Report
                          Daubert
       DEX0135            R, UP, H, I,                        Ferrante Expert Report Exhibit 22 – Dark Hotel Data
                          Daubert
       DEX0136            R, UP, H, I,                        Ferrante Expert Report Exhibit 23 – Nitro Data
                          Daubert
       DEX0137            R, UP, H, I,                        Ferrante Expert Report Exhibit 24 – Nitro Report
                          Daubert
       DEX0138            R, UP, H, I,                        Ferrante Expert Report Exhibit 25 – Carbanak
                          Daubert
       DEX0139            R, UP, H, I,                        Ferrante Expert Report Exhibit 26 – Timeline



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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
                          Daubert
       DEX0140            R, UP, H, I,                        Ferrante Expert Report Exhibit 27 – CrashOverride_01 Dragos
                          Daubert
       DEX0141            R, UP, H, I,                        Ferrante Expert Report Exhibit 28 – Trend Micro Phishing
                          Daubert
       DEX0142            C                                   P-G000390
       DEX0143            UP, R, H, F                         P-T000020
       DEX0144            C, R, UP, H                         P-T001712
       DEX0145            Unknown                             Table
       DEX0146            Unknown                             Illustration explaining the SSL certificate finding
       DEX0147            Unknown                             Table
       DEX0148            Unknown                             Appendix to the Grizzly Steppe report
                          /UP, R, H, F
       DEX0149            Unknown                             Methbot Prefix Count
                          /UP, R, H, F
       DEX0150            Unknown                             ASN Overview
       DEX0151            Unknown                             PonyUp Scheme
                          /UP, R, H, F
       DEX0152            Unknown                             CRASHOVERRIDE & Ukraine Power Grid Attack
                          /UP, R, H, F
       DEX0153            Unknown                             Methbot Graph 1
                          /UP, R, H, F
       DEX0154            Unknown                             Methbot Graph 2
                          /UP, R, H, F
       DEX0155            Unknown                             Methbot Graph 3
                          /UP, R, H, F
       DEX0156            Unknown                             Methbot Graph 4
                          /UP, R, H, F


                                                              Depo Exhibits of Gubarev 30(b)(6) 6/28/18
       DEX0157            R                                   Gubarev 30(b)(6) Depo Ex. 2 – XBT Press Release
                                                              (No Bates Number)
       DEX0158            R                                   Gubarev 30(b)(6) Depo Ex. 3 – Web project servers.com
                                                              information security audit of August/September 2015
                                                              (No Bates Number)




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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                             Depo Exhibits of Ben Smith
       DEX0159            C, A                               Ex. 1 BuzzFeed_004183
       DEX0160            C, R, A                            Ex. 3 BuzzFeed_001719
       DEX0161            C, R, A                            Ex. 4 BuzzFeed_001720
       DEX0162            C, R, A                            Ex. 5 BuzzFeed_001721
       DEX0163            C, R, A, H                         Ex. 6 BuzzFeed_001722
       DEX0164            C, R, A, H                         Ex. 7 BuzzFeed_001723
       DEX0165            C, R, A, H                         Ex. 8 BuzzFeed_001724
       DEX0166            C, R, A, H                         Ex. 9 BuzzFeed_001725
       DEX0167            C, R, A, H                         Ex. 10 BuzzFeed_007745
       DEX0168            C, R, A, H                         Ex. 11 BuzzFeed_001726
       DEX0169            C, R, A, H                         Ex. 12 BuzzFeed_001727
       DEX0170            C, R, A, H                         Ex. 13 BuzzFeed_001728
       DEX0171            C, R, A, H                         Ex. 14 BuzzFeed_001729
       DEX0172            C                                  Ex. 15 BuzzFeed_007981
       DEX0173            C                                  Ex. 16 BuzzFeed_007982
       DEX0174            C                                  Ex. 17 BuzzFeed_007983
       DEX0175            C                                  Ex. 18 BuzzFeed_007984
       DEX0176            C                                  Ex. 19 BuzzFeed_007985
       DEX0177            C                                  Ex. 20 BuzzFeed_007986
       DEX0178            C                                  Ex. 21 BuzzFeed_007987
       DEX0179            C                                  Ex. 22 BuzzFeed_007953
       DEX0180            C                                  Ex. 23 BuzzFeed_007954
       DEX0181            C                                  Ex. 24 BuzzFeed_007955
       DEX0182            C                                  Ex. 25 BuzzFeed_007956
       DEX0183            C                                  Ex. 26 BuzzFeed_007957
       DEX0184            C                                  Ex. 27 BuzzFeed_007958
       DEX0185            C                                  Ex. 28 BuzzFeed_007959
       DEX0186            C                                  Ex. 29 BuzzFeed_007960
       DEX0187            C                                  Ex. 30 BuzzFeed_007961
       DEX0188            C                                  Ex. 31 BuzzFeed_007962




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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0189            C                                  Ex. 32 BuzzFeed_007963
       DEX0190            C                                  Ex. 33 BuzzFeed_007964
       DEX0191            C                                  Ex. 34 BuzzFeed_007965
       DEX0192            C                                  Ex. 35 BuzzFeed_007966
       DEX0193            C                                  Ex. 36 BuzzFeed_007967
       DEX0194            C                                  Ex. 37 BuzzFeed_007968
       DEX0195            C                                  Ex. 38 BuzzFeed_007969
       DEX0196            C                                  Ex. 39 BuzzFeed_007970
       DEX0197            C                                  Ex. 40 BuzzFeed_007971
       DEX0198            C                                  Ex. 41 BuzzFeed_007972
       DEX0199            C                                  Ex. 42 BuzzFeed_007973
       DEX0200            C                                  Ex. 43 BuzzFeed_007974
       DEX0201            C                                  Ex. 44 BuzzFeed_007975
       DEX0202            C                                  Ex. 45 BuzzFeed_007976
       DEX0203            C                                  Ex. 46 BuzzFeed_007977
       DEX0204            C                                  Ex. 47 BuzzFeed_007978
       DEX0205            C                                  Ex. 48 BuzzFeed_007979
       DEX0206            C                                  Ex. 49 BuzzFeed_007988
       DEX0207            C                                  Ex. 50 BuzzFeed_007946
       DEX0208            C                                  Ex. 51 BuzzFeed_007947
       DEX0209            C                                  Ex. 52 BuzzFeed_007948
       DEX0210            C                                  Ex. 53 BuzzFeed_007949
       DEX0211            C                                  Ex. 54 BuzzFeed_007950
       DEX0212            C                                  Ex. 55 BuzzFeed_007951
       DEX0213            C                                  Ex. 56 BuzzFeed_007952
       DEX0214            C                                  Ex. 57 BuzzFeed_007980
       DEX0215            A                                  Ex. 58 BuzzFeed_001730
       DEX0216            R, A, UP                           Ex. 74 BuzzFeed_006037
       DEX0217            H                                  Benjamin.Smith PLAINTIFF.EXHIBIT1
       DEX0218            N                                  Benjamin.Smith PLAINTIFF.EXHIBIT4
       DEX0219            N                                  Benjamin.Smith PLAINTIFF.EXHIBIT5




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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0220            H                                  Benjamin.Smith PLAINTIFF.EXHIBIT7
       DEX0221            N                                  Benjamin.Smith PLAINTIFF.EXHIBIT13
       DEX0222            R                                  Benjamin.Smith PLAINTIFF.EXHIBIT14
       DEX0223            N                                  Dossier from Complaint
       DEX0224            N                                  Original BuzzFeed article
       DEX0225            N                                  Original CNN article
       DEX0226            N                                  Update article


                                                             Exhibits to Bolger Declaration to Motion for Summary
                                                             Judgment
       DEX0227            N                                  Ex. 1 - Complaint
       DEX0228            N                                  Ex. 14 – Ex. 3 to Kramer Deposition
       DEX0229            N                                  Ex. 15 – Ex. 4 to Kramer Deposition
       DEX0230            R, UP                              Ex. 21 – P-P000431
       DEX0231            R                                  Ex. 22 – P-P000601




       DEX0235            H, A, F, UP                        Ex. 27 – Nunes Memo
       DEX0236            H, A, F, UP                        Ex. 28 – Schiff Memo
       DEX0237            N                                  Ex. 29 – Transcript of March 20, 2017 testimony
       DEX0238            H, A, F, UP                        Ex. 30 – October 2016 application for FISA warrant
       DEX0239            N                                  Ex. 31 – FBI Source Closing Communication
       DEX0240            H, A, F, UP                        Ex. 32 – January 2017 application for FISA warrant
       DEX0241            H, A, F, UP                        Ex. 33 – March 2018 Report on Russian Active Measures
       DEX0242            H, A, F, UP                        Ex. 34 – FOIA Request from James Madison Project to CIA dated
                                                             January 11, 2017
       DEX0243            H, A, F, UP                        Ex. 35 – FOIA Request from James Madison Project to Office of
                                                             Director of National Intelligence dated January 11, 2017
       DEX0244            H, A, F, UP                        Ex. 36 – Declaration of Edward Gistaro
       DEX0245            H, A, F, UP                        Ex. 37 – Assessing Russian Activities and Intentions in Recent U.S.
                                                             Elections
       DEX0246            N                                  Ex. 38 – Statement of James Comey dated June 8, 2017



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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0247            N                                  Ex. 39 – Letter from Senator Harry Reid to James Comey, dated
                                                             October 30, 2016
       DEX0248            N                                  Ex. 40 – BuzzFeed article The Reports Allege Trump Has Deep
                                                             Ties to Russia
       DEX0249            N                                  Ex. 41 – Ex. 4 to Anderson Deposition
       DEX0250            H, A, R                            Ex. 42 – USA Today Article datedJanuary 10, 2017
       DEX0251            H, A, R                            Ex. 43 – New York Times article dated January 11, 2017
       DEX0252            H, A, R                            Ex. 44 – The Guardian article dated January 11, 2017
       DEX0253            H, A, R                            Ex. 45 – Chicago Tribune article dated January 11, 2017
       DEX0254            H, A, R                            Ex. 46 – Vox article dated January 11, 2017
       DEX0255            H, A, R                            Ex. 47 – The Guardian article dated May 10, 2017
       DEX0256            H, A, R                            Ex. 48 – Daily Caller article dated July 12, 2017
       DEX0257            H, A, R                            Ex. 49 – Just Security article dated September 6, 2017
       DEX0258            H, A, R                            Ex. 50 – CNN article dated February 1, 2018
       DEX0259            H, A, R                            Ex. 51 – Politico article dated February 3, 2018
       DEX0260            H, A, R                            Ex. 52 – The New Yorker article dated March 12, 2018
       DEX0261            H, A, R                            Ex. 53 – McClatchy article dated April 13, 2018
       DEX0262            H, A, R                            Ex. 54 – Fox News article dated May 10, 2018
       DEX0263            H, A, R                            Ex. 55 – The Hill article dated May 26, 2018
       DEX0264            H, A, R                            Ex. 56 – USA Today article dated August 28, 2018
       DEX0265            H, A, R                            Ex. 57 – Washington Post article dated August 30, 2018
       DEX0266            H, A, R                            Ex. 58 – Washington Times article dated September 19, 2018


                                                             Ben Smith – Public Statements
       DEX0267            Unavailable                        Carlson 1.10.18.mp4
       DEX0268            Unavailable                        Carlson 1.25.17.mp4
       DEX0269            Unavailable                        Hayes 4.19.18.mp4
       DEX0270            Unavailable                        Maddow 1.10.18.mp4
       DEX0271            Unavailable                        Morning Joe 1.10.18.mp4
       DEX0272            Unavailable                        NPR 1.14.18.mp3
       DEX0273            Unavailable                        ReCode article PDF
       DEX0274            Unavailable                        Remnick podcast.mp3



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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       DEX0275            Unavailable                         Stelter interview 1.15.17.mp4
       DEX0276            Unavailable                         Stelter podcast 1.15.17.mp3
       DEX0277            Unavailable                         The Beat 1.11.18.mp4
       DEX0278            Unavailable                         Todd interview 1.11.17.mp4
       DEX0279            Unavailable                         Maddow 12.8.17.mp4


                                                              Other
       DEX0280            R, H, UP                            P-R007746 – 7747
       DEX0281            R, H, UP                            P-R007751 - 7754
       DEX0282            R, H, UP                            P-R007920 - 7922
       DEX0283            N                                   P-G004665 – P-G004689
       DEX0284            N                                   P-C000080 (corrected)
       DEX0285            R, UP, H, A,                        https://www.apnews.com/dea73efc01594839957c3c9a6c962b8a
                          I
       DEX0286            R, UP, H, A,                        https://wikileaks.org/podesta-emails/emailid/34899
                          I
       DEX0287            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.205.147
       DEX0288            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.224.172


       DEX0289            R, UP, H, A,                        https://threatconnect.com/blog/state-board-election-rabbit-hole/
                          I
       DEX0290            R, UP, H, A,                        https://www.cyberscoop.com/russia-fsb-arrests-king-servers-
                          I                                   threatconnect/


       DEX0291            R, UP, H, A,                        https://www.washingtonpost.com/r/2010-
                          I                                   2019/WashingtonPost/2014/10/14/National-
                                                              Security/Graphics/briefing2.pdf


       DEX0292            R, UP, H, A,                        https://dragos.com/blog/crashoverride/
                          I
       DEX0293            R, UP, H, A,                        http://www.thewhir.com/web-hosting-news/xbt-holding-expands-
                          I                                   with-acquisition-of-singapore-web-host-8-to-infinity


       DEX0294            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=188.42.253.43




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No.               Offer
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       DEX0295            R, UP, H, A,                        https://www.reuters.com/article/us-ukraine-cyber-attack-
                          I                                   energy/ukraines-power-outage-was-a-cyber-attack-ukrenergo-
                                                              idUSKBN1521BA


       DEX0296            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.199.88
       DEX0297            R, UP, H, A,                        https://www.f-
                          I                                   secure.com/documents/996508/1030745/dukes_whitepaper.pdf


       DEX0298            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=223.25.232.161


       DEX0299            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.199.78


       DEX0300            R, UP, H, A,                        https://www.washingtonpost.com/r/2010-
                          I                                   2019/WashingtonPost/2014/10/14/National
                                                              Security/Graphics/briefing2.pdf


       DEX0301            R, UP, H, A,                        https://www.welivesecurity.com/wp-
                          I                                   content/uploads/2015/07/Operation-Potao-Express_final_v2.pdf


       DEX0302            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=188.42.254.26
       DEX0303            R, UP, H, A,                        https://www.justice.gov/usao-sdny/pr/three-alleged-international-
                          I                                   cyber-criminals-responsible-creating-and-distributing-virus


       DEX0304            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.254.208
       DEX0305            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=109.234.34.57
       DEX0306            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=109.234.37.184
       DEX0307            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=178.208.78.76


       DEX0308            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=178.208.91.229


       DEX0309            R, UP, H, A,                        https://stat.ripe.net/widget/routing-




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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
                          I                                   history#w.resource=206.54.183.106


       DEX0310            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=46.30.42.177


       DEX0311            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=46.30.42.234


       DEX0312            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=94.242.199.172
       DEX0313            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=223.25.233.248
       DEX0314            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=78.140.136.87


       DEX0315            R, UP, H, A,                        https://stat.ripe.net/widget/routing-history#w.resource=88.85.84.98
                          I
       DEX0316            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=78.140.142.179


       DEX0317            R, UP, H, A,                        https://stat.ripe.net/widget/routing-
                          I                                   history#w.resource=78.140.136.87
       DEX0318            N                                   P-G000704


       DEX0319            N                                   P-G000984


       DEX0320            N                                   P-G000728


       DEX0321            N                                   P-G000233


       DEX0322            N                                   P-G000259
       DEX0323            N                                   P-G001008
       DEX0324            N                                   P-G000754


       DEX0325            N                                   P-G000783
       DEX0326            N                                   P-G000819


       DEX0327            N                                   P-G000285
       DEX0328            N                                   P-G000328



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No.                Offer
                   ed


       DEX0329              N                                        P-G000365, P-G000406


       DEX0330              C, F                                     P-G0004614- P-G004643 (Draft)2


                                                                     Authentication Exhibits
       DEX0331              N                                        KGlobal – Authentication Declaration of James W. McDermott
       DEX0332              N                                        Declaration of Ivan Novikov of Wallarm, Inc. (with Exhibit A)


                                                                   Depo Exhibits of Aleksej Gubarev 04/3/18 & 05/16/18
       AG-4A                R                                      Someone is trying to pull a trick article in English
       AG-4B                R                                      Someone is trying to pull a trick article in Russian
       AG-4D                 UP, R                                 P-H00002 Dolan 01-11-17 to Gubarev, Dvas
       AG-6                  UP, R, H                              Virtual Underground 3-3-6 article
       AG-8                  UP, R, H                              Cyprus has become a paradise for Russian IT industry article


       AG DX-1              L                                      P-H000093 to 101
                                                                   Email string Bershidsky (Bloomberg) 11-1-16 to
                                                                   alex@servers.com
       AG DX-2              L                                      P-H000093 to 103
                                                                   Email string Bershidsky (Bloomberg) 11-1-16 to
                                                                   alex@servers.com
       AG-DX-3              N                                      P-H000076 to 78
                                                                   Email string Bershidsky (Bloomberg) 11-1-16 to
                                                                   alex@servers.com re: Bonpoc
       AG-DX-4              R                                      P-H0000103 to 104
                                                                   Email string BerAGshidsky (Bloomberg) 11-1-16 to
                                                                   alex@servers.com
       AG-DX-5              L, R                                   P-H000103 to 104
                                                                   Email string Bershidsky (Bloomberg) 11-1-16 to
                                                                   alex@servers.com
       AG-DX-6              R                                      10-31-16 article “Was A Trump Server Communicating With
                                                                   Russia?



       2
         Defendants have included a draft version of XBT’s 2017 audited financials because no final version was produced
       in discovery. If a final version becomes available before trial, Defendants reserve the right to replace this exhibit
       with the final version.


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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       AG-DX-7            R                                  P-H000124
                                                             Email Gubarev 11-1-16 to Kevit@webzilla.com Subject: jabber
       AG-DX-8            R                                  P-H000122 to 123
                                                             Email Kevit 11-1-16 to Gubarev Subject: Re: jabber
       AG-DX-9            N                                  P-F000009 to 12
                                                             11-1-16 article “Clinton Plugs Another Weak Story About Trump’s
                                                             Ties to Putin”
       AG-DX-             R                                  P-P001509 to 1510
       10                                                    Email Gubarev 11-3-16 to Dolan Subject: Alfa bank and Trump
       AG-DX-             R                                  P-P001511 to 1512
       11                                                    Email Gubarev 11-4-16 to Dolan re: WSJ
       AG-DX-             N                                  P-I000237 to 260
       12                                                    Messages to a chat
       AM-1               UP, R, A                           AWMOpen 2008 Alex XE, magazine owner
       AW-1               UP, R, A, H                        AWMOpen 2003 Tournament
       AW-2               UP, R, A, H                        AWMOpen 2005 Adult Webmaster Conf.
       AW-3               UP, R, A, H                        About AWMOpen 2005
       AW-5               UP, R, A, H                        AWMOpen 2006 Adult Webmaster Conf.
       AW-7               UP, R, A, H                        AWMOpen 2009 Cyprus Official Release
       AW-8               UP, R, A, H                        AWMOpen 2008 Pattaya Conference
       AW-11              UP, R, A, H                        AWMOpen 2011 Amsterdam
       AW-13              UP, R, A, H                        Webmaster Amsterdam 11th Edition 2015
       AW-15              UP, R, A, H                        2014 How I became AVM and it was just the beginning
       AWM-1              UP, R, A, H                        AWMOpen B.V. company Netherlands - Concept: Outline,
                                                             Mission, Goals & Contacts
       BC-1               R                                  Servers.com 1-11-17 article “Russian tech expert named in Trump
                                                             report says US intelligence never contacted him”
       EH-3               UP, R, A, H                        AWM Summer Party SPb 2006
       EH-3A              UP, R, A, H                        AWM Summer Party SPb 2006 participants
       HA-1               UP, R, A, H,                       Damballa - Tracing Pony’s Threat Cycle & Multi-Stage Infection
                          F                                  Chain beginning 2015
       HA-4               UP, R, A, H,                       1-7-16 Rigging compromise- RIG Exploit Kit
                          F
       INT-1              N                                  1-11-17 BK to XBT stakeholders – Internal Investigation Report
                                                             on BuzzFeed publication
       INT-2              UP, R                              P-R000003 Internal Investigation Report on Grizzly Steppe



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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                            12/292/16 by DHS from BK
       INT-7              UP, R                             P-T000012 Email re IP details 9-6-17 from Goederich to Gubarev
                                                            & BK
       MB-1               UP, R, H                          KGlobal 000585 Dvas 12-21-16 Email to Dolan & Gubarev re
                                                            Reputation management services
       MB-4               UP, R, H                          KGlobal 000580 to 582 Gubarev 12-21-16 Email to Dolan, Dvas re
                                                            Reputation management services
       MB-5               UP, R, H                          KGlobal 000572 to 574 Email chain 12-21-16 Dvas, Dolan
                                                            Gubarev re Reputation management services
       MB-8               UP, R, H                          KGlobal 000578 to 579 Dvas 12-22-16 email to Dolan re
                                                            Additional Question?
       MB-9               UP, R, H                          KGlobal 000575 to 576 Email chain Dvas 12-22-16 Dolan,
                                                            Gubarev re Additional Question
       MB-11              UP, R, H                          KGlobal 000565 Email chain Dvas 12-23-16 Dolan, Gubarev re
                                                            Draft – Servers.com Statement and Q&A
       MB-19              UP, R, H                          KGlobal 003767 to 3768 Email chain Dolan 1-6-17 Dvas,
                                                            Gubarev, Malunda, Jahamaliah re New Issue
       MC-1               UP, R, A, H                       AWMOpen 2008 Pattaya Sponsors
       MC-2               UP, R, A, H                       11-11-08 Krebs “Major Source of Online Scams and Spams
                                                            Knocked Offline”
       N-1                UP, R, F, A                       Name - Dimitry Marinichev
       N-2                UP, R, F, A                       Name - Victor Khaikov
       N-3                UP, R, F, A                       Name – Lev Khasis
       N-4                UP, R, F, A                       Name - Natalya Kaspersky
       N-5                UP, R, F, A                       Name - Ilya Sachkov
       N-6                UP, R, F, A                       Name - German Klimenko
       N-7                UP, R, F, A                       Name - Evgeniy M. Bogachev
       N-10               UP, R, F, A                       Name - Vitaliy Korchagin
       N-11               UP, R, F, A                       Name - Panagiotis Kouvatsos
       N-14               UP, R, F, A                       Name - Konstantin Poltev, or Kokach
       N-15               UP, R, F, A                       Name - Anton Titov
       PR-1               R                                 Public Relations Emails to set Interviews:
                                                            Bates:
                                                            KGlobal 2561 to 2562 KGlobal 2571 to 2572
                                                            KGlobal 2582 to 2583 KGlobal 2589 to 2590
                                                            KGlobal 2592 to 2593 KGlobal 2601 to 2602
                                                            KGlobal 2326 to 2328 KGlobal 2339, 2341, KGlobal 2347 to 2349



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Plf.   Def. No.   Date    Objections1   Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
                                                            KGlobal 2352 to 2354
                                                            KGlobal 2039 to 2340 KGlobal 2050 to 2051
                                                            KGlobal 2092 to 2094 KGlobal 1913 to 1920
                                                            KGlobal 1926 to 1927 KGlobal 1935 to 1936
                                                            KGlobal 1945 to 1946 KGlobal 1964 to 1968
                                                            KGlobal 2024 to 2025 KGlobal 1998 to 1999
                                                            KGlobal 3100 to 3102
       PR-2               R                                 Public Relations Emails re Servers.com
                                                            Bates:
                                                            KGlobal 2813 to 2814 KGlobal 2893 to 2894
                                                            KGlobal 2705 to 2706 KGlobal 2691 to 2693
                                                            KGlobal 2687 to 2690 KGlobal 2671 to 2672
                                                            KGlobal 2652 to 2653 KGlobal 2640
                                                            KGlobal 2630 to 2631 KGlobal 2628 to 2629
                                                            KGlobal 2638 to 2639 KGlobal 2722 to 2724
                                                            KGlobal 2751 to 2754 KGlobal 2749 to 2750
                                                            KGlobal 2727 to 2728 KGlobal 2725 to 2726
       PR-3               R, H, I                           KGlobal_servers.com Proposal Emails
                                                            Bates:
                                                            KGlobal 1599 to 1609 KGlobal 1493 to 1494
                                                            KGlobal 643, KGlobal 1399 to 1406
                                                            KGlobal 349 to 353 KGlobal 1910, 3063, 0006, 0645, KGlobal
                                                            675 to 677
                                                            KGlobal 306 to 307, KGlobal 1770 to o1771
                                                            KGlobal 2808 to 2809, KGlobal 2795 to 2796
                                                            KGlobal 3399 to 3406, KGlobal 3450 to 3451
                                                            KGlobal 3398 to 3406, KGlobal 3450 to 3451
                                                            KGlobal 1068, 3356 to 3557, 2007 to 2012, 1911 to 1912, 3135 to
                                                            3136, 1937 to 1944, 0289 to 0290, 3651 to 3658, 2074 to 2077,
                                                            0287, 0594 to 0595, 1087 to 1091, 1070 to 1085, 0586 to 0590,
                                                            0178, 0238 to 0240, 0067 to 0069, 0287, 0594 to 0595, 1087 to
                                                            1091, 1070 to 1085, 0586 to 0590, 0178 to 0179,
                                                            0238 to 0240, 0067 to 0069
       PR-4               R, H, I                           Public Relations
                                                            Bates:
                                                            KGlobal 1597 to 1598, 2741, 1486 to 1488,
                                                            0657 to 0659, 0650 to 0651, 0646, 0330 to 0331, 2594, 2473, 2122
                                                            to 2124, 2084 to 2085, 2397 to 2398, 2584, 2603, 1932, 2420 to
                                                            2424, 2355 to 2358, 2141, 1924 to 1925, 1909, 2491 to 2495, 3780
                                                            to 3781, 0554, 1908
       PR-5               R, H, I                           Galkina 6-13-16 email to Dolan re Forum
                                                            (KGlobal 0743 & attachments)
                                                            Email Chain Dolan 4-12-16 to Malunda, Parman re Checking in
                                                            (KGlobal 1510 to 1511)
                                                            Email Chain Dolan 4-20-16 to Galkina re Checking in (KGlobal
                                                            1688)
                                                            Modupeh 10-5-16 email to Tkachenko, Dvas re Cloud Expo Asia
                                                            Press List (KGlobal 2467)
                                                            Modupeh 10-7-16 email to Rohanizadeh re Servers.com Cloud



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No.               Offer
                  ed
                                                            Expo Asia Press List (KGlobal 2563)
                                                            Email Chain Modupeh 10-11-16 to George re Startup/Tech
                                                            Industry Thought Leader
                                                            (KGlobal 2296 to 2298)
                                                            Email Chain Modupeh 10-13-16 to Tkachenko, Gubarev, Dvas re
                                                            Servers.com to present Prisma / PR Newswire 48 hr report
                                                            (KGlobal 2573 to 2576)
       PR-6               R, H, I                           Emails re Cutler proposal & Public Relations
                                                            Bates ( all prefixes are P-P) P-P000977 to 0980, P-P000988 0995,
                                                            P-P001012, P-P001019 to 1020, P-P001027, P-P001032, P-
                                                            P001043, P-P001047, P-P001057, P-P001062 to 1063, P-
                                                            P001095, P-P001097, P-P001106 to 1108, P-P001133 to 1134, P-
                                                            P001153, 1155, 1158 to 1159, 1181, 1200, 1221, 1224, 1258, 1261,
                                                            1293 to 1294, 1351 to 1353, 1355, 1359 to 1360, 1376, 1397,
                                                            1399, 1468, 1500, 1602
       PR-7               N                                 11-1-1 article “Clinton Plugs Another Weak Story About Trump’s
                                                            Ties to Putin”
       PR-9               R                                 P-P001372
                                                            Email Chain Gubarev 7-25-16 to Malunda, Dvas, Parman, Dolan,
                                                            Modupeph re Prisma
       PR-16              R                                 Article 08-10-16 “The CEO of the summer’s hottest photography
                                                            app says that trippy filters are ‘just the beginning’”
       PR-21              R                                 P-F000093 to 0098
                                                            10-18-16 - 485: Biggest Lesson of Growing a Company with
                                                            Aleksej Gubarev
       PR-24              R                                 P-F000086 to 0087
                                                            Russian brochure
       PR-31              R                                 P_F000115 to 118
                                                            Gubarev The Way To Success
       PR-38              R                                 P-F000119 to 0121
                                                            Servers.com article
       PR-39              R                                 P-F000143 to 0149
                                                            Prisma 12-4-17
       PR-83              R                                 10-15-16 article APPS – How Servers.com helped Prisma get to 70
                                                            million downloads in 4 months
       PV-2               UP, R, A, H                       August 13 – Krebs on Security – Why Dark Web Research isn’t
                                                            Enough
       PV-3               UP, R, A, H                       Krebs on Security - “Security Fix – Following the Money: Rogue
                                                            Anti-virus Software”
       PV-4               UP, R, A, H                       Jan 17 – Krebs on Security “A Shakeup in Russia’s Top
                                                            Cybercrime Unit”
       PV-5               UP, R, A, H                       AWM Open 2004, Larnaca, Cyprus




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Plf.   Def. No.   Date    Objections1    Marked   Admitted    Description of Exhibits and Witnesses
No.               Offer
                  ed
       PV-6               UP, R, A, H                        AWM Open 2005 Prague, Czech Republic
       PV-7               UP, R, A, H                        AWM Open 2006 Information about sponsors
       PV-8               UP, R, A, H                        AWM Open 2007 Information about sponsors
       PV-9               UP, R, A, H                        AWM Open 2008 Information about sponsors
       PV-12              UP, R, A, H                        AWM Open 2006 Information about sponsors
       PV-15              UP, R, A, H                        9-2-13 “Online Attack Leads to Peek Into Spam Den”
       PX-33              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-34              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-37              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-39              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-43              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-47              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-48              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-53              UP, R, A, H                        www.fubarwebmasters.com V2.0 Picture
       PX-81              UP, R, A, H                        AWO Picture www.fubarwebmasters.com
       PX-107             UP, R, A, H                        Picture
       PX-108             UP, R, A, H                        Picture at table with hidden faces
       PX-109             UP, R, A, H                        Master X AWM Open Prague 2005
       PX-112             UP, R, A, H                        Picture
       PX-116             UP, R, A, H                        Sevastyan Kaptsugovich Pictures
       PX–117             UP, R, A, H                        Sevastyan Kaptsugovich Picture
       R-2                R                                  KGlobal 0668 to 0669
                                                             Gubarev 7-1-16 email chain to Dolan re: From my Russian friends
                                                             in Cyprus
       R-5                R                                  9-25-15 article, “Servers.com Is Expanding to Russia”
       R-7                R                                  2-1-16 article “Servers.com Extends Global Presence With New
                                                             Data Center in Moscow”
       R-8                R, UP                              9-1-15 article “Russian data law fuels web surveillance fears”
       R-21               R, UP                              KGlobal 0688 Galkina 7-22-16 email to Dolan re Russian Security
                                                             Law with attached 4-13-16 article “What Russia’s New Draconian
                                                             Data Laws Mean for Users”
       RB-2               UP, R, A, H,                       Real-Bucks.com!
                          I                                  https://web.archive .org/web/2017092206195 7 /http://real-
                                                             bucks.com/



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No.               Offer
                  ed
       RB-4               UP, R, A, H,                       Real Bucks – Our Sites
                          I
       RB-7               UP, R, A, H,                       Armada Board – Interview with Bigvoo – the owner of the content
                          I                                  studio
       RE-1               UP, R, A, H,                       2004 – Real-Euros com - Best Dialer Program for adult
                          I                                  webmasters
       RE-2               UP, R, A, H,                       Real-Euros.com – Contact Information 2004 – Support@real-
                          I                                  euros.com & questions – alexxe@alexxe.com
       RE-3               UP, R, A, H,                       Real-Euros.com – FAQ 2004
                          I
       RE-4               UP, R, A, H,                       AWMOpen – Conference of Adult Webmasters 2007 Amsterdam
                          I
       SK-3               UP, R, A, H                        http: //fondshigulina. ru/match-zvezd-2018/)
                                                             “Perm king of pornography – Seva Kapsugovich – a participant in
                                                             the election campaign of Trump?
       TFN-1              UP, R, A, H                        AWMOPEN 2005, Prague, Czech Republic
       TFN-2              UP, R, A, H                        Krebbs Security Fix – “FTC Sues, Shuts Down N. Calif. Web
                                                             Hosting Firm”


                                                             Depo Exhibits of David Kramer 12/13/17:
       DK-DX-1            R                                  Subpoena to David Kramer set for 12/13/17 & Schedules
       DK-DX-2            N                                  Company Intelligence Report 2016 / 080 redacted
       DK-DX-3            N                                  Company Intelligence Report 2016 / 080
       DK-DX-4            N                                  BuzzFeed_007876 to7910
                                                             Company Intelligence Report 2016 / 080 highlighted
       DK-DX-5            N                                  7-28-16 article “Read: GOP National Security Experts Ask
                                                             Congress to Investigate DNC Hack”
       DK-DX-6            N                                  11-16-16 article “How Trump’s victory could give Russia another
                                                             win”


                                                             Depo Exhibits of Constantin Luchian 05/02/18:
       AG-13              R, UP, H, F,                       11-17-17 servers.com article “Tech firm in Trump dossier was
                          A                                  target of antipiracy advocates”
       AMA-1              R, UP, H, F,                       P-K000001 to 31
                          A                                  AMA Multimedia, LLC v. ERA Technologies, etc., et al. Case No.
                                                             1:15 cv 24289-FAM - US District Court Southern District of
                                                             Florida Miami Division
                                                             [DE 10] Webzilla & WZ Communications Answer to Complaint



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Plf.    Def. No.    Date     Objections1     Marked    Admitted       Description of Exhibits and Witnesses
No.                 Offer
                    ed
        CF-1                 R, UP, H, F,                          In re: Corbin Fisher: Identification of John Does 1-500 - Case No.
                             A                                     09-mc-61349-WPD United States District Court Southern District
                                                                   of Florida [DE 3] filed 9-14-09 Partial Opposition to Motion for
                                                                   Enlargement of Time
        CF-2                 R, UP, H, F,                          In re: Corbin Fisher: Identification of John Does 1-500 - Case No.
                             A                                     09-mc-61349-WPD United States District Court Southern District
                                                                   of Florida [DE 5] filed 9-18-09 Motion to Quash Subpoena
        CF-3                 R, UP, H, F,                          In re: Corbin Fisher: Identification of John Does 1-500 - Case No.
                             A                                     09-mc-61349-WPD United States District Court Southern District
                                                                   of Florida Exhibit A to [DE 5] filed 9-18-09 Motion to Quash
                                                                   Subpoena – Declaration of Constantin Luchian dated 9-18-09
        CF-4                 R, UP, H, F,                          In re: Corbin Fisher: Identification of John Does 1-500 - Case No.
                             A                                     09-mc-61349-WPD United States District Court Southern District
                                                                   of Florida Exhibit E to [DE 7-2 ] filed 10-9-09 Supplemental
                                                                   Declaration of Constantin Luchian dated 10-9-09
        DP-1                 R, UP, H, F,                          P-K000052 to 63
                             A                                     Depicto, etc., et al v. Webazilla, etc., et al
                                                                   Broward County Circuit Court Case No. CACE-13-010329 –
                                                                   Webazilla’s Answer and Affirmative Defenses to 2nd Amended
                                                                   Complaint filed
        HT-1                 R, UP, H, F,                          US District Court Northern District of Texas – Dallas Case # 3:09
                             A                                     cv-23996-D
                                                                   Liberty Media Holdings, LLC v Webzilla, etc., et al. [DE 17] First
                                                                   Amended Original Complaint filed 1-6-10
        HY-1                 R, UP, H, F,                          US District Court Southern District of Florida Miami Division
                             A                                     Case # 1:15 cv 22134-UU
                                                                   Hydentra, etc. v. Luchian, et al. [DE 1] Complaint filed 6-4-15
        IP-1                 R, UP, H, F,                          Hydentra, etc., et al. v. Siracusa Management S.A., etc., et al. Case
                             A                                     No. 1:16 cv 20191-RNS
                                                                   US District Court Southern District of Florida Miami Division
                                                                   [DE 1] – Complaint filed 1-15-16
        Mishra-2             N                                     P-I000002 to 32
                                                                   Legal Information, Terms and Conditions / Webzilla
        WCZ-1                R, UP, H, F,                          Hydentra, etc., et al. v. ERA Technologies, etc. et al. Case No. 1:15
                             A                                     cv 242939-MGC US District Court Southern District of Florida
                                                                   Miami Division [DE 1] Complaint




                                              Defendants’ If Needed Exhibits

Plf.   Def. No.    Date      Objections     Marked    Admitted    Description of Exhibits and Witnesses
No.                Offered
       DEX0333               R, UP, H,                            P-Q000437



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No.               Offered
                            F, L
       DEX0334              R, UP, H,                        P-Q000699
                            F, L
       DEX0335              R, UP, H,                        P-Q001019
                            F, L
       DEX0336              R, UP, H,                        P-Q001135
                            F, L, C
       DEX0337              N                                P-R000001

       DEX0338              R, UP, H,                        P-R000003
                            F
       DEX0339              R                                P-T000001

       DEX0340              R, UP, H,                        P-T000002
                            F
       DEX0341              R, UP, H,                        P-T000003
                            F
       DEX0342              R, UP, H,                        P-T000004
                            F
       DEX0343              R, UP, H,                        P-T000005
                            F, L
       DEX0344              R, UP, H,                        P-T000007
                            F
       DEX0345              R, UP, H,                        P-T000009
                            F, C
       DEX0346              R, UP, H,                        P-T000010
                            F
       DEX0347              R, UP, H,                        P-T000012
                            F
       DEX0348              R, UP, H,                        P-T000020
                            F, L
       DEX0349              R, UP, H,                        KGlobal000578
                            F
       DEX0350              R, UP, H,                        KGlobal000580
                            F
       DEX0351              R, UP, H,                        KGlobal000585
                            F
       DEX0352              R, UP, H,                        KGlobal000813
                            F
       DEX0353              R, UP, H,                        KGlobal000814
                            F



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No.               Offered
       DEX0354              R, UP, H,                        KGlobal000825
                            F, C
       DEX0355              R, UP, H,                        KGlobal000897
                            F
       DEX0356              R, UP, H,                        KGlobal003767
                            F
       DEX0357              R, UP, H,                        P-P001532
                            F
       DEX0358              R, UP, H,                        P-P001536
                            F
       DEX0359              R, UP, H,                        P-P001540
                            F
       DEX0360              R, UP, H,                        P-P001542
                            F
       DEX0361              R, UP, H,                        P-P001547
                            F


                                                             Depo Exhibits of Rajesh Mishra 05/01/18
       DEX0362              N                                Exhibit 3 – Corporate structure
       DEX0363              R                                Exhibit 22 – XBT press release
       DEX0364              R                                Exhibit 23 – XBT Holding launches/SecureVPN.com article
       DEX0365              R, UP, H,                        Exhibit 27 - Report
                            F
       DEX0366              R, UP, H,                        Exhibit 28 – KGlobal 001041-1042
                            F
       DEX0367              R, UP, H,                        Exhibit 29 – P-P001530-1531
                            F
       DEX0368              R, UP, H,                        Exhibit 30 – P-P001536-1539
                            F
       DEX0369              N                                Exhibit 40 – Email from Mr. Mishra
       DEX0370              R, UP, A,                        Exhibit 52 – 2015 Amsterdam’s attendees
                            H
       DEX0371              R, UP, A,                        Exhibit 53 – Participates 2014 Amsterdam attendees
                            H


                                                             Depo Exhibits of Nicolay Dvas 05/17/18
       DEX0372              R                                Exhibit 6 – Email from Gerber to Dvas and others, Dated 10-26-15,
                                                             Subject: “Servers.com/Cutler PR Call Recap – 26 Oct.”



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No.               Offered
                                                             (P-P001019)
       DEX0373              R                                Exhibit 8 – Email from Dvas to Gerber and Galkina, dated 11-14-
                                                             15, Subject: “Re: Checking In” and Related E-mail Chain
                                                             (P-P001039 to P-P001041)
       DEX0374              R                                Exhibit 16 – Email from Gerber to Dvas and Galkina, dated 1-7-16,
                                                             Subject: “Servers.com/Cutler PR Call Recap – Jan. 6”
                                                             (P-P001158)
       DEX0375              R                                Exhibit 23 – Website Article from
                                                             www.missioncriticalmagazine.com Entitled “Bare Metal Servers;
                                                             The Next Big Thing in Cloud Hosting,” dated 2-25-16
                                                             (No Bates Number)
       DEX0376              R                                Exhibit 28 – Website Article from www.inc.com Entitled “18 Tech
                                                             Companies to Get Excited About,” Print Date 5-13-18
                                                             (No Bates Number)
       DEX0377              R                                Exhibit 35 – E-mail from Dvas to Modupeh Jahamaliah, dated 8-
                                                             23-16, Subject: “Re: Bi-Weekly Servers.com Conference Call” and
                                                             Related E-mail Chain
                                                             (P-P001448 to P-P001449)
       DEX0378              R, UP, H,                        Exhibit 67 – Email from Dvas to Dolan and Gubarev and Others,
                            F                                dated 1-6-17, Subject: “Re: New Issue” and Related E-mail Chain
                                                             (P-P001546)
       DEX0379              R, UP, H,                        Exhibit 68 – E-mail from Dvas to Dolan and Gubarev, dated 1-9-
                            F                                17, Subject: “Re: Meth.bot” and Related E-mail Chain
                                                             (P-P001547 to P-P001548)
       DEX0380              R, UP, H,                        Exhibit 69 – E-mail from Dolan to Dvas and Others, dated 12-28-
                            F                                16, Subject: “White Ops and Krebs”
                                                             (KGlobal 003443)
       DEX0381              R, UP, H,                        Exhibit 70 – Email from Dolan to Dvas and Gubarev, dated 12-23-
                            F                                16, Subject: “Servers.com Daily Monitoring (12/23/16) and CHD
                                                             Talking Points for Approval” and Related Attachment
                                                             (KGlobal 00824 to 00825)
       DEX0382              R, UP, H,                        Exhibit 78 – Chat History Between Dolan and Dvas, Various
                            F                                Dates, and Related E-mails
                                                             (KGlobal 003870 to 003897)
       DEX0383              N                                Exhibit 83 – E-mail from Gubarev to Dvas and Others, Dated 1-12-
                                                             17, Subject: “Re” Statement” and Related E-mail Chain
                                                             (P-P000085)
       DEX0384              N                                Exhibit 85 – E-mail from Dvas to Dolan, dated 1-12-17, Subject:
                                                             “Re: Corrected Statement” and Related E-mail Chain
                                                             (KGlobal 000048 to 000056)
       DEX0385              N                                Exhibit 91 – Website Printout from www.servers.com entitled
                                                             “Servers Policies”
                                                             (No Bates Number)




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered


                                                             Depo Exhibits of 30(b)(6) Deponent Peter R. Fritsch of Fusion
                                                             GPS 08/30/18
       DEX0386              N                                Exhibit 8 – Company Intelligence Report 2016/080
                                                             (BuzzFeed_007076)
       DEX0387              N                                Exhibit 10 – Email from fusiongps.com to Sam Stainer
                                                             (Bates FGPSSDFL00000646)
       DEX0388              N                                Exhibit 11 – Company Intelligence Report 2016/166
                                                             (No Bates Number)


                                                             Kaplan Expert Report
       DEX0389              R, H                             Exhibit 1 – Kaplan CV
       DEX0390              H                                Exhibit 3 – Comparison of XBT's Reported Actual Revenue
                                                             During 2017 and Average Monthly Revenue Implied by Forecast
                                                             of XBT's
                                                             2017 Revenue Relied on by Anderson
       DEX0391              H                                Exhibit 4 – Anderson Figure 3
       DEX0392              H                                Exhibit 5 – Comparison of XBT Revenue Actual and Implied But-
                                                             For Based on XBT's 2017 Revenue Forecast Relied Upon by
                                                             Anderson
       DEX0393              H                                Exhibit 6 – Comparison of XBT’s Purported Loss of Revenue
                                                             During 2017 To Lost Business Value Damages Calculated by Mr.
                                                             Anderson
       DEX0394              H                                Exhibit 7 - XBT's Monthly Revenue MRCXH 2015 to April 2016
       DEX0395              H                                Exhibit 8 – Comparison of XBT Forecasted Revenues and Actual
                                                             Revenues In Millions
       DEX0396              H                                Exhibit 9 – Comparison of XBT Forecasted EBITDA and Actual
                                                             EBITDA In Millions
       DEX0397              H                                Exhibit 10 – Comparison of XBT Forecasted Profit Before Tax
                                                             And Actual XBT Profit Before Tax In Millions
       DEX0398              H, R, UP                         Exhibit 11 – XBT Revenue In Millions (Including Sales by XBT to
                                                             Customer Allegedly Engaged in Fraud through 2016)
       DEX0399              H, R, UP                         Exhibit 12 – XBT Revenue In Millions (Excluding Sales by XBT
                                                             to Customer Allegedly Engaged in Fraud through 2016)
       DEX0400              H, R, UP                         Exhibit 13 – Change in Actual Yearly XBT Revenue (Excluding
                                                             Sales by XBT to Customer Allegedly Engaged in Fraud) 2011-
                                                             2017
       DEX0401              H, R, UP                         Exhibit 14 – Change in Yearly XBT Revenue Measured as a
                                                             Percentage (Excluding Sales by XBT to Customer
                                                             Allegedly Engaged in Fraud) 2011-2017



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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0402              H, R, UP                         Exhibit 15 – Change in XBT Revenue Average Change 2011-2016
                                                             Compared to Change for 2016-2017 (Excluding Sales by XBT to
                                                             Customer Allegedly Engaged in Fraud) 2011-2017
       DEX0403              H, R, UP                         Exhibit 16 – XBT Revenue by Month In Millions
                                                             (Including XBT Sales to Customer Allegedly Engaged in Fraud
                                                             during 2016) 2016 vs. 2017
       DEX0404              H                                Exhibit 17 – Comparison of XBT Fin. Performance 2016 v.2017
                                                             Based on Data in Anderson’s Exhibit 7 in Millions
       DEX0405              H                                Exhibit 18 – Replication of Anderson Second Report, Exhibit 12


       DEX0406              UP, R                            P-P001536-1539
       DEX0407              R, A, C                          BuzzFeed_001770
       DEX0408              R, H, A, C                       BuzzFeed_004919
       DEX0409              R, H, A, C                       BuzzFeed_006395
       DEX0410              R, H, A, C                       BuzzFeed_006615


                                                             Depo Exhibits of Ken Bensinger 02/07/18
       DEX0411              N                                Exhibit 3 – BuzzFeed_000017-21
       DEX0412              N                                Exhibit 8 – BuzzFeed_000022-28
       DEX0413              N                                Exhibit 9 – Garrison email to Bensinger
                                                             (No Bates Number)


       DEX0414              R, UP, H,                        P-T000021 - P-T001753
                            F
       DEX0415              R, UP, H,                        P-T001755 - P-T001769
                            F


                                                             Exhibits to Bolger Declaration to Motion for Summary
                                                             Judgment
       DEX0416              I, C                             Ex. 7 – Declaration of David Kramer
       DEX0417              N                                Ex. 8 – Declaration of E.W. Priestap
       DEX0418              N                                Ex. 18 – Registration information for XBT Holding S.A.
       DEX0419              N                                Ex. 19 – 2016 Florida Profit Corporation Annual Report filed 2-23-
                                                             16 for Webzilla, Inc.
       DEX0420              N                                Ex. 20 – 2017 Florida Profit Corporation Annual Report filed 4-30-
                                                             16 for Webzilla, Inc.




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered


                                                             Exhibits to Siegel Declaration to Public Figure Motion for
                                                             Summary Judgment
       DEX0421              UP, R, A,                        Ex. 4 – Exhibit AW-8 to April 30, 2018 Gubarev Depo
                            H
       DEX0422              UP, R, A,                        Ex. 5 – Exhibit PV-6 to April 30, 2018 Gubarev Depo
                            H
       DEX0423              UP, R, A,                        Ex. 6 – Exhibit PV-7 to April 30, 2018 Gubarev Depo
                            H
       DEX0424              UP, R, A,                        Ex. 7 – Exhibit PV-8 to April 30, 2018 Gubarev Depo
                            H
       DEX0425              UP, R, A,                        Ex. 8 – Exhibit AW-7 to April 30, 2018 Gubarev Depo
                            H
       DEX0426              UP, R, A,                        Ex. 9 – Exhibit AW-11 to April 30, 2018 Gubarev Depo
                            H
       DEX0427              UP, R, A,                        Ex. 10 – Exhibit PV-5 to April 30, 2018 Gubarev Depo
                            H
       DEX0428              UP, R, A,                        Ex. 11 – Exhibit PV-9 to April 30, 2018 Gubarev Depo
                            H
       DEX0429              UP, R, A,                        Ex. 13 – Exhibit 52 to Mishra Depo
                            H
       DEX0430              UP, R, A,                        Ex. 14 – Exhibit 53 to Mishra Depo
                            H
       DEX0431              UP, R, A                         Ex. 15 – Exhibit AM-1 to April 30, 2018 Gubarev Depo

       DEX0432              UP, R, A,                        Ex. 16 – Exhibit AWM-1 to April 30, 2018 Gubarev Depo
                            H
       DEX0433              UP, R, A,                        Ex. 17 Copy of web page which includes a photo of Gubarev
                            H
       DEX0434              UP, R, H                         Ex. 18 – Exhibit AG-6 to Gubarev Depo

       DEX0435              UP, R, A,                        Ex. 19 – August 2, 2013 article from website Krebs on Security
                            H
       DEX0436              UP, R, H                         Ex. 20 – Memorandum of Points and Authorities filed June 1, 2009
                                                             by FTC
       DEX0437              UP, R, A,                        Ex. 21 – Exhibit MC-1 from April 30, 2018 Gubarev Depo
                            H
       DEX0438              UP, R, H                         Ex. 22 – Nov. 18, 2014 Slate article

       DEX0439              UP, R, H                         Ex. 23 – December 29 , 2009 article for Newsweek




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0440              UP, R, H                         Ex. 24 – November 12, 2008 article for Washington Post

       DEX0441              UP, R, A,                        Ex. 25 – Exhibit MC-2 from April 30, 2018 Gubarev Depo
                            H
       DEX0442              UP, R, H,                        Ex. 26 – June 4, 2009 FTC press release
                            A
       DEX0443              UP, R, H,                        Ex. 27 – May 19, 2010 FTC press release
                            A
       DEX0444              UP, R, A,                        Ex. 28 – Exhibit TFN-1 from April 30, 2018 Gubarev Depo
                            H
       DEX0445              R                                Ex. 29 – November 12, 2012 MarketWired press release
       DEX0446              R                                Ex. 30 – P-F000247
       DEX0447              R                                Ex. 31 – P-F000266
       DEX0448              R                                Ex. 32 – P-F000231
       DEX0449              R                                Ex. 33 – P-F000258
       DEX0450              R                                Ex. 34 – P-F000256
       DEX0451              R                                Ex. 35 – P-F000013
       DEX0452              R                                Ex. 36 – P-F000018
       DEX0453              R                                Ex. 37 – Exhibit 2 to Dvas Depo
       DEX0454              R                                Ex. 39 – Exhibit 4 to Dvas Depo
       DEX0455              R                                Ex. 40 – Exhibit 5 to Dvas Depo
       DEX0456              R                                Ex. 41 – Exhibit 7 to Dvas Depo
       DEX0457              R                                Ex. 42 – Exhibit 13 to Dvas Depo
       DEX0458              R                                Ex. 43 – Exhibit 14 to Dvas Depo
       DEX0459              R                                Ex. 44 – Exhibit 15 to Dvas Depo
       DEX0460              R                                Ex. 45 – Exhibit 27 to Dvas Depo
       DEX0461              R                                Ex. 46 – Exhibit 28 to Dvas Depo
       DEX0462              R                                Ex. 47 – Exhibit R-5 to April 30, 2018 Gubarev Depo
       DEX0463              R                                Ex. 48 – P-F000122
       DEX0464              R, H                             Ex. 50 – September 1, 2015 article from The Guardian
       DEX0465              R, H                             Ex. 51 – July 4, 2014 article from Reuters
       DEX0466              R                                Ex. 52 – Exhibit R-7 to April 30, 2018 Gubarev Depo
       DEX0467              R                                Ex. 53 – Exhibit PR-24 to April 30, 2018 Gubarev Depo
       DEX0468              R                                Ex. 54 – P-F000270




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0469              R                                Ex. 55 – Exhibit PR-39 to April 30, 2018 Gubarev Depo
       DEX0470              R                                Ex. 56 – Exhibit 16 to Dvas Depo
       DEX0471              R                                Ex. 57 – Exhibit PR-38 from April 30, 2018 Gubarev Depo
       DEX0472              R, UP, H                         Ex. 58 – June 25, 2018 article for the Council on Foreign Relations
       DEX0473              R                                Ex. 59 – Exhibit 30 to Dvas Depo
       DEX0474              R                                Ex. 60 – Exhibit 33 to Dvas Depo
       DEX0475              R, H                             Ex. 61 – Exhibit 32 to Dvas Depo

       DEX0476              R, H, UP                         Ex. 62 – Exhibit 34 to Dvas Depo

       DEX0477              R, A, H                          Ex. 63 – Page called “About the Forum” on St. Petersburg
                                                             International Economic Form
       DEX0478              R, H                             Ex. 64 – Exhibit 24 to Dvas Depo

       DEX0479              R                                Ex. 65 – Exhibit 12 to the Dvas Depo

       DEX0480              N                                Ex. 66 – Exhibit 38 to Dvas Depo

       DEX0481              R                                Ex. 67 – Exhibit 51 to Dvas Depo

       DEX0482              R                                Ex. 68 – Exhibit 52 to Dvas Depo

       DEX0483              R                                Ex. 69 – Exhibit 50 to Dvas Depo

       DEX0484              R                                Ex. 70 – Exhibit PR 2 from April 30, 2018 Gubarev deposition

       DEX0485              R                                Ex. 71 – Exhibit PR 2 from April 30, 2018 Gubarev deposition

       DEX0486              R                                Ex. 72 – Exhibit 45 from April 30, 2018 Gubarev deposition

       DEX0487              R                                Ex. 73 – Exhibit 47 from April 30, 2018 Gubarev deposition

       DEX0488              R                                Ex. 74 – Exhibit 46 to Dvas Depo

       DEX0489              R                                Ex. 75 – Exhibit 48 to Dvas Depo

       DEX0490              R                                Ex. 76 – Exhibit PR-83 to Dvas Depo

       DEX0491              R                                Ex. 77 – Exhibit 53 to Dvas Depo

       DEX0492              R                                Ex. 78 – Exhibit 55 to Dvas Depo

       DEX0493              R                                Ex. 79 – Exhibit 56 to Dvas Depo
       DEX0494              R                                Ex. 80 – Exhibit 57 to Dvas Depo
       DEX0495              N                                Ex. 81 – Exhibit PR-7 from April 30, 2018 Gubarev Depo

       DEX0496              R                                Ex. 82 – September 14, 2016 email

       DEX0497              R                                Ex. 83 – AppMasters Podcast dated October 18 Titled “485:



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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
                                                             Biggest Lesson of Growing a Company with Aleksej Gubarev”
       DEX0498              N                                Ex. 85 – Exhibit to May 16, 2018 Gubarev Depo

       DEX0499              L                                Ex. 87 – Exhibit 3 to May 16, 2018 Gubarev Depo

       DEX0500              N                                Ex. 88 – Exhibit 44 to Shayefar Declaration

       DEX0501              N                                Ex. 89 – Exhibit 60 to Dvas Depo

       DEX0502              R, UP, H,                        Ex. 90 – Exhibit 61 to Dvas Depo
                            F
       DEX0503              R, UP, H,                        Ex. 91 – Exhibit 62 to Dvas Depo
                            F
       DEX0504              R, UP, H,                        Ex. 92 – Exhibit 63 to Dvas Depo
                            F
       DEX0505              R, UP, H,                        Ex. 93 – Exhibit 63 to Dvas Depo (composite)
                            F
       DEX0506              R, UP, H,                        Ex. 94 – Exhibit 64 to Dvas Depo
                            F
       DEX0507              C, F, R                          Ex. 95 – Exhibit 32 to Mishra Depo

       DEX0508              R, UP, H,                        Ex. 96 – Exhibit 1 to Anderson Depo
                            F
       DEX0509              N                                Ex. 97 – Exhibit 6 to Anderson Depo

       DEX0510              R, UP H,                         Ex. 98 – Exhibit 65 to Dvas Depo
                            F
       DEX0511              R, UP H,                         Ex. 99 – Exhibit 66 to Dvas Depo
                            F
       DEX0512              R, UP H,                         Ex. 100 – Exhibit 69 to Dvas Depo
                            F
       DEX0513              R, UP H,                         Ex. 101 – Exhibit 70 to Dvas Depo
                            F
       DEX0514              N                                Ex. 102 – Exhibit 81 to Dvas Depo

       DEX0515              N                                Ex. 103 – Exhibit 86 to Dvas Depo

       DEX0516              R                                Ex. 104 – Exhibits 6A and 6B to Steman Depo

       DEX0517              N                                Ex. 106 – Exhibit 3 to Steman Depo

       DEX0518              R                                Ex. 107 – P-H000053

       DEX0519              N                                Ex. 108 – P-H000007

       DEX0520              R                                Ex. 109 – P-P000150




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0521              R                                Ex. 110 – P-P000191
       DEX0522              R                                Ex. 111 – P-P000157

       DEX0523              R                                Ex. 113 – Exhibit 10 to Steman Depo

       DEX0524              R                                Ex. 114 – Exhibits 8A and 8B to Steman Depo

       DEX0525              R                                Ex. 115 – Exhibits 9A and 9B to Steman Depo

       DEX0526              R                                Ex. 116 – Exhibit 12 to Steman Depo

       DEX0527              N                                Ex. 117 – P-P000021

       DEX0528              R                                Ex. 118 – Exhibit 16 to Ferrante Depo

       DEX0529              R                                Ex. 119 – February 14, 2017 Wall Street Journal article

       DEX0530              R                                Ex. 120 – Exhibits 24A and 24B to Steman Depo

       DEX0531              R, UP, H,                        Ex. 121 – August 6, 2007 New Yorker article
                            F
       DEX0532              R, UP, H,                        Ex. 122 – August 26, 2009 Network World article
                            F
       DEX0533              R, UP, H,                        Ex. 123 – June 20, 2017 Wired article
                            F
       DEX0534              R, UP, H,                        Ex. 124 – April 8, 2015 CNN article
                            F
       DEX0535              R, UP, H,                        Ex. 125 – March 10, 2015 CNN article
                            F
       DEX0536              R, UP, H,                        Ex. 126 – June 14, 2016 Washington Post article
                            F
       DEX0537              R, UP, H,                        Ex. 129 – February 19, 2008 Het Parool article by Karen Spaink
                            F, A
       DEX0538              R, UP, H,                        Ex. 130 – February 19, 2008 Het Parool article
                            F, A
       DEX0539              R, UP, H,                        Ex. 131 – December 2, 2008 Webwereld article
                            F, A
       DEX0540              R, UP, H,                        Ex. 132 – July 28, 2009 CNN iReport article
                            F, A
       DEX0541              I, See                           Ex. 133 – Excerpts of June 18, 2018 Deposition of Christopher
                            depo desig                       Steele
       DEX0542              R, UP, H,                        Ex. 134 – October 16, 2015 comments of Motion Picture
                            F, A                             Association of America
       DEX0543              R, UP, H,                        Ex. 136 – November 15, 2017 McClatchy News article
                            F, A



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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0544              R                                Ex. 137 – Exhibits AG-4A and AG-4B to April 30, 2018 Gubarev
                                                             Depo
       DEX0545              R                                Ex. 138 – Exhibits 18A and 18B to Steman Depo
       DEX0546              R                                Ex. 139 – KGlobal 003786
       DEX0547              R, UP, H,                        Ex. 140 – August 9, 2001 Associated Press article 2001
                            F, A


                                                             Other
       DEX0548              N                                P-G00645 (KPMG – XBT Holding Limited Equity Valuation 2
                                                             August 2013)


       DEX0550              R, UP, H,                        Exhibit 13 to the Bezruchenko Depo
                            F
       DEX0551              R, UP, H,                        Exhibit 15 to the Bezruchenko Depo
                            F
       DEX0552              R, UP, H,                        P-R008203
                            F
       DEX0553              R, UP, H,                        Exhibit MB-9 to the April 30, 2018 Gubarev Depo
                            F
       DEX0554              R, UP, H,                        KGlobal000575
                            F
       DEX0555              R, UP, H,                        Exhibit MB-4 to the April 30, 2018 Gubarev Depo
                            F
       DEX0556              R, UP, H,                        KGlobal000580
                            F
       DEX0557              R, UP, H,                        P-P001546
                            F
       DEX0558              R, UP, H,                        P-P001535
                            F
       DEX0559              R, UP, H,                        KGlobal001041
                            F
       DEX0560              R, UP, H,                        P-R042925
                            F
       DEX0561              R, UP, H,                        P-P001535
                            F
       DEX0562              R, UP, H,                        P-T001757
                            F
       DEX0563              R, UP, H,                        P-T001761




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
                            F
       DEX0564              R, UP, H,                        P-T001765
                            F
       DEX0565              R, UP, H,                        P-T001769
                            F
       DEX0566              R                                P-F000156
       DEX0567              R                                P-F000218
       DEX0568              R                                P-F000223
       DEX0569              R                                P-F000231
       DEX0570              R                                P-F000233
       DEX0571              R                                P-F000235
       DEX0572              R                                P-F000239
       DEX0573              R                                P-F000 241
       DEX0574              R                                P-F000 253
       DEX0575              R, UP, H,                        P-T007751
                            F, C
       DEX0576              R, UP, H,                        P-R007920
                            F
       DEX0577              R, UP, H,                        P-R007746
                            F
       DEX0578              R, L, H                          ID_Wallarm000232–239
       DEX0579              R, L, H                          ID_Wallarm000218-226
       DEX0580              R, L, H                          ID_Wallarm000093-000116
       DEX0581              R, UP, H,                        https://aws.amazon.com/compliance/iso-27001-faqs/
                            F, A
       DEX0582              R, UP, H,                        https://www.recordedfuture.com/monitoring-tor-exit-nodes/
                            F, A, I
       DEX0583              R, UP, H,                        https://hackertarget.com/tor-exit-node-visualization/
                            F, A, I
       DEX0584              R, UP, H,                        www.shadowserver.org/wiki/uploads/Information/RBN_Rizing.pdf
                            F, A, I
       DEX0585              R, A, I                          http://www.marketwired.com/press-release/xbt-holding-ltd-
                                                             acquires-1-800-hosting-inc-1724402.htm 1/
       DEX0586              R, A, I                          www.mcclatchydc.com/news/nation-
                                                             world/national/article125910774.html
       DEX0587              R, UP, H,                        https://www.riaa.com/wp-content/uploads/2016/03/Music-




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
                            F, A, I                          Community-Submission-in-re-DMCA-512-FINAL-7559445.pdf
       DEX0588              R, UP, H,                        “The Dallas-Russia axis of evil online fraud (allegedly),”
                            F, A, I,                         DallasNews.com, August 11, 2008
                            Unavail
       DEX0589              R, UP, H,                        http://hostexploit.com/?p=whr-201403
                            F, A, I
       DEX0590              R, UP, H,                        http://hostexploit.com/?p=whr-201309
                            F, A, I
       DEX0591              R, UP, H,                        http://hostexploit.com/?p=whr-201303
                            F, A, I
       DEX0592              R, UP, H,                        http://hostexploit.com/?p=whr-201209
                            F, A, I
       DEX0593              R, UP, H,                        http://hostexploit.com/?p=top-50-201206
                            F, A, I
       DEX0594              R, UP, H,                        http://hostexploit.com/?p=gsr-201205
                            F, A, I
       DEX0595              R, UP, H,                        http://hostexploit.com/?p=top-50-201203
                            F, A, I
       DEX0596              R, UP, H,                        http://hostexploit.com/?p=top-50-201112
                            F, A, I
       DEX0597              R, UP, H,                        http://hostexploit.com/?p=top-50-201109
                            F, A, I
       DEX0598              R, UP, H,                        http://hostexploit.com/?p=top-50-201106
                            F, A, I
       DEX0599              R, UP, H,                        http://hostexploit.com/?p=top-50-201103
                            F, A, I
       DEX0600              R, UP, H,                        http://hostexploit.com/?p=top-50-201012
                            F, A, I
       DEX0601              N                                P-G000001
       DEX0602              N                                P-G000066
       DEX0603              N                                P-G000134
       DEX0604              N                                P-G000502
       DEX0605              N                                P-G000627
       DEX0606              N                                P-G002581
       DEX0607              N                                P-G002603
       DEX0608              N                                P-G002629
       DEX0609              N                                P-G002652




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0610              N                                P-G002676
       DEX0611              N                                P-G002694
       DEX0612              N                                P-G002719
       DEX0613              N                                P-G002743
       DEX0614              N                                P-G002767
       DEX0615              N                                P-G002786
       DEX0616              N                                P-G002813
       DEX0617              N                                P-G002834
       DEX0618              N                                P-G002860
       DEX0619              N                                P-G002883
       DEX0620              N                                P-G002905
       DEX0621              N                                P-G002928
       DEX0622              N                                P-G002954
       DEX0623              N                                P-G002976
       DEX0624              N                                P-G003007
       DEX0625              N                                P-G003029
       DEX0626              N                                P-G003059
       DEX0627              N                                P-G003081
       DEX0628              N                                P-G003111
       DEX0629              N                                P-G003136
       DEX0630              N                                P-G003162
       DEX0631              N                                P-G003204
       DEX0632              N                                P-G003227
       DEX0633              N                                P-G003268
       DEX0634              N                                P-G003312
       DEX0635              N                                P-G003333
       DEX0636              N                                P-G003353
       DEX0637              N                                P-G003390
       DEX0638              N                                P-G003414
       DEX0639              N                                P-G003436
       DEX0640              N                                P-G003463
       DEX0641              N                                P-G003488



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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0642              N                                P-G003515
       DEX0643              N                                P-G003537
       DEX0644              N                                P-G003565
       DEX0645              N                                P-G003589
       DEX0646              N                                P-G003614
       DEX0647              N                                P-G003633
       DEX0648              N                                P-G003659
       DEX0649              N                                P-G003679
       DEX0650              N                                P-G003704
       DEX0651              N                                P-G003722
       DEX0652              N                                P-G003747
       DEX0653              N                                P-G003779
       DEX0654              N                                P-G003799
       DEX0655              N                                P-G003824
       DEX0656              N                                P-G003848
       DEX0657              N                                P-G003869
       DEX0658              N                                P-G003878
       DEX0659              N                                P-G003906
       DEX0660              N                                P-G003932
       DEX0661              N                                P-G003956
       DEX0662              N                                P-G003980
       DEX0663              N                                P-G004010
       DEX0664              N                                P-G004036
       DEX0665              N                                P-G004063
       DEX0666              N                                P-G004104
       DEX0667              N                                P-G004129
       DEX0668              N                                P-G004173
       DEX0669              N                                P-G004214
       DEX0670              N                                P-G004240
       DEX0671              N                                P-G004281
       DEX0672              N                                P-G004298
       DEX0673              N                                P-G004299



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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered




       DEX0674              N                                P-G000863
       DEX0675              N                                P-G000875
       DEX0676              N                                P-G000885
       DEX0677              N                                P-G000913




       DEX0678              R, A, UP,                        BuzzFeed_004770
                            H, I
       DEX0679              R, A, UP,                        BuzzFeed_004068
                            H, I
       DEX0680              R, A, UP,                        BuzzFeed_004163
                            H, I
       DEX0681              R, A, UP,                        BuzzFeed_004211
                            H, I
       DEX0682              R, A, UP,                        BuzzFeed_004278
                            H, I
       DEX0685              R, A, UP,                        BuzzFeed_007822
                            H, I
       DEX0687              R, A, UP,                        BuzzFeed_004611
                            H, I
       DEX0688              R, A, UP,                        BuzzFeed_004641
                            H, I
       DEX0689              R, A, UP,                        BuzzFeed_004882
                            H, I
       DEX0690              R, A, UP,                        BuzzFeed_004990
                            H, I
       DEX0691              R, A, UP,                        BuzzFeed_006042
                            H, I
       DEX0692              R, A, UP,                        BuzzFeed_006338
                            H, I
       DEX0693              R, A, UP,                        BuzzFeed_006388
                            H, I
       DEX0694              R, A, UP,                        BuzzFeed_006443
                            H, I
       DEX0695              N                                P-G000947




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Plf.   Def. No.   Date      Objections   Marked   Admitted   Description of Exhibits and Witnesses
No.               Offered
       DEX0696              N                                P-G000959
       DEX0697              N                                P-G000971
       DEX0698              N                                P-G000477
       DEX0699              N                                P-G000485
       DEX0700              N                                P-G004281
       DEX0701              R, UP, C                         Composite: P-V00001 ‒ P-V001187
       DEX0702              R, UP                            P-P000008
       DEX0703              R, A, I, H                       BuzzFeed_005098
       DEX0704              R, C, A, H                       BuzzFeed_007001
       DEX0705              N                                Smith Depo Ex. 8
       DEX0706              R, UP, H,                        BuzzFeed_007725
                            A, I




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